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 13                       UNITED STATES DISTRICT COURT
 14                     CENTRAL DISTRICT OF CALIFORNIA
 15
 16 MM Games d.o.o.,                                CASE NO. 2:25-CV-01969-GW-JPR
 17              Plaintiff,                         NOTICE OF MOTION AND
                                                    MOTION FOR PRELIMINARY
 18 v.                                              INJUNCTION
 19 Andre Rebelo-Soares d/b/a Typical      Filed concurrently with:
    Gamer, Chad Mustard, and Jogo Studios, 1) Plaintiff’s Memorandum of Points
 20 Inc.                                   and Authorities in Support of Motion
                                           for Preliminary Injunction and;
 21            Defendants.                 2) [Proposed] Order Granting Plaintiff’s
                                           Motion for Preliminary Injunction
 22
                                           Hon. George H. Wu
 23
                                           Date: July 31, 2025
 24                                        Time: 8:30 a.m.
                                           Courtroom: 9D
 25
 26                                        Complaint filed: March 6, 2025
 27
 28
      NOTICE OF MOTION AND MOTION
      FOR PRELIMINARY INJUNCTION                              CASE NO. 2:25-CV-01969-GW-JPR
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  1
            PLEASE TAKE NOTICE that on July 31, 2025, before the assigned
  2
      Honorable Judge in a Courtroom to be determined of the United States District Court,
  3
      Central District of California, Western Division, located at 350 West 1st Street, Los
  4
      Angeles, California 90012, Plaintiff MM Games will, and hereby does, move the
  5
      Court pursuant to Federal Rule of Civil Procedure 65 for an order granting a
  6
      preliminary injunction enjoining Defendants Andre Rebelo-Soares d/b/a Typical
  7
      Gamer, Chad Mustard, and Jogo Studios, Inc. (“Jogo Studios”) (collectively
  8
      “Defendants”) from making additional copies of Plaintiff’s copyright protected work,
  9
      distributing copies of the work, and publicly distributing copies of the work.
 10
            MM Games has filed a Verified First Amended Complaint in this action for
 11
      copyright infringement in violation of 17 U.S.C. § 101 et seq. Plaintiff moves for a
 12
      preliminary injunction relating to the allegations of copyright infringement. This
 13
      motion is based on this Notice of Motion and Motion for Preliminary Injunction; the
 14
      Verified First Amended Complaint; the concurrently filed Memorandum of Points
 15
      and Authorities in Support of Motion for Preliminary Injunction; [Proposed] Order
 16
      Granting Motion for Preliminary Injunction; the file and record in this case; and any
 17
      additional argument that the Court may consider in connection with this matter. The
 18
      criteria for issuing a preliminary injunction are met here as detailed in the
 19
      concurrently filed Memorandum of Points and Authorities in Support of Motion for
 20
      Preliminary Injunction.
 21
            The Court should enter a preliminary injunction to maintain the status quo and
 22
      stop and prevent irreparable harm that will occur while this case is pending.
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      NOTICE OF MOTION AND MOTION
      FOR PRELIMINARY INJUNCTION                                CASE NO. 2:25-CV-01969-GW-JPR
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                                  #:1123



  1
      Dated: June 12, 2025             DORSEY & WHITNEY LLP
  2
  3
                                       By: /s/ J. Michael Keyes
  4
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                                            d.o.o.
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      NOTICE OF MOTION AND MOTION
      FOR PRELIMINARY INJUNCTION                           CASE NO. 2:25-CV-01969-GW-JPR
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                                     #:1124



  1
                                CERTIFICATE OF SERVICE
  2
            I hereby certify that on June 12, 2025, a true and correct copy of the foregoing
  3
      was sent via mail to all parties to this action. A true and correct copy of the foregoing
  4
      was also sent to opposing counsel via electronic mail.
  5
  6                                                    /s/ J. Michael Keyes
  7                                                    J. Michael Keyes, SBN 262281

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      NOTICE OF MOTION AND MOTION
      FOR PRELIMINARY INJUNCTION                                  CASE NO. 2:25-CV-01969-GW-JPR
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